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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff(s),
                                                       Case No. 11-CR-20401
vs.
                                                       HON. GEORGE CARAM STEEH

D-3 JOSE SAMANIEGO,

                Defendant(s).
_____________________________/

                 ORDER GRANTING MOTION TO WITHDRAW [#13]
                 AND SETTING STATUS CONFERENCE HEARING


      A motion having been filed by appointed counsel, David Tholen of the Federal

Defender Office, to withdraw as attorney for defendant and after holding a hearing on

January 18, 2012, with the defendant’s concurrence, now therefore

      IT IS ORDERED that David Tholen’s Motion to Withdraw is HEREBY GRANTED

and defendant’s request for substitute counsel is GRANTED. The Federal Defender Office

shall locate a panel attorney to represent the defendant.

      A status conference/hearing is hereby scheduled for   March 19, 2012 at

10:30 AM.



Dated: January 18, 2012
                                         s/George Caram Steeh
                                         GEORGE CARAM STEEH
                                         UNITED STATES DISTRICT JUDGE
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                              CERTIFICATE OF SERVICE

              Copies of this Order were served upon attorneys of record and
                              the Federal Defender Office on
                  January 18, 2012, by electronic and/or ordinary mail.

                                 s/Marcia Beauchemin
                                     Deputy Clerk
